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Case 2:15-cr-OOOl4-APG-VCF Dooument 473 Filed 07/17/18 Page 1 of 1

 

 

 

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
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UNITED STATES OF AMERICA, Case No. 2:15-cr-00014-APG-VCF

Plairltiff, ORDER DENYING MOTION TO

RENEW THE MOTION TO RE-OPEN
V' THE REQUEST FOR AN EVIDENTIARY
oMAR QAZI, HEARING
Defendant. (ECF NO' 444)
Defendant Omar Qazi has filed a motion to renew his earlier motion to re-open his
request for an evidentiary hearing on his second motion to suppress. ECF No. 444. Qazi’s earlier

motion to re-open Was denied because my ruling on his second motion to suppress Was on appeal
to the Ninth Circuit. See ECF No. 362. That appeal has been resolved so the procedural posture
of the case no longer prevents consideration of Qazi’s motion. l have reviewed the original
motion and all related papers, including the Internal Affairs Bureau letter Qazi relies on. l see no
basis to re-open the evidentiary hearing on his second motion to suppress

lT IS THEREFORE ORDERED that Qazi’s motion (ECF No. 444) is denied.

Dated; July 17, 2018. W

ANDREW P. GoRDoN
UNITED sTATEs DISTRICT JUDGE

 

 

